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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                    §
                                             §
vs.                                          §                            CASE NO. 4:23-cr-218
                                             §
HARDIK JAYANTILAL PATEL                      §
    aka Erik aka Mitesh aka Nick aka Dev and §
                                             §
DHIRENKUMAR VISHNUBHAI PATEL,                §
                                             §
       Defendants.                           §

    DEFENDANTS’ JOINT UNOPPOSED MOTION TO EXTEND ALL DEADLINES

       Defendants Hardik Patel and Dhirenkumar Patel respectfully move that the Court extend

the current dates in the Court’s scheduling order by 60 days.

       On May 17, 2023, a grand jury indicted both defendants for conspiracy to commit mail

fraud and wire fraud, mail fraud, and conspiracy to commit money laundering. (Doc. No. 1).

Defendants were arrested in Kentucky on August 7, 2023 and subsequently transferred in custody

to the Southern District of Texas. (Doc. Nos. 18-19). Further, defendants appeared for their initial

appearance and arraignment on August 21, 2023 before Magistrate Judge Ho. The Court set a

schedule requiring that pre-trial motions be filed by September 5, 2023, with additional pre-trial

and trial deadlines thereafter. (Doc. No. 22).

       According to the government, it has assembled and sent discovery materials, which will be

received by defendants shortly. The government has represented that the discovery is voluminous.

Specifically, the government has indicated that each defendant will receive approximately 1.1

terabytes of data, which includes video files, spreadsheets, text files, Word documents, and PDF

files. Because defendants have not yet received discovery, and it appears that once received it will
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take some time to review, defendants request a 60 day extension to file pre-trial motions and that

all other dates similarly be extended by 60 days.

       As stated in the below Certificate of Conference, counsel for the United States has no

objection to the requested extension.

       WHEREFORE, defendants respectfully request this Court grant their motion for a 60 day

extension of all current deadlines.

                                             Respectfully submitted,

                                             HOLLAND & KNIGHT, LLP

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                                                    HARDIK PATEL

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                                                    COUNSEL FOR DEFENDANT
                                                    DHIRENKUMAR PATEL
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                                     CERTIFICATE OF CONFERENCE

       I certify that undersigned counsel for Defendant Hardik Patel contacted Stephanie Bauman,
counsel for the United States, who stated that the United States is unopposed to defendants’
motion.


                                                    /s/ Steven A. Block
                                                    Steven A. Block

                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of this above and foregoing document was served via

ECF on this 1st day of September, 2023.

                                                    /s/Francie Trimble
                                                    Francie Trimble




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